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             IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                       TAMPA DIVISION

CAROLE BASKIN,
 an individual,

and

HOWARD BASKIN,
 an individual,

           Plaintiffs,

vs.                                    CASE NO. _______________

ROYAL GOODE
PRODUCTIONS LLC.,
 a New York limited liability
 company,

and

NETFLIX, INC., a
 Delaware corporation,

          Defendants.
_________________________________)

                             COMPLAINT

                  INJUNCTIVE RELIEF REQUESTED

                         JURY TRIAL DEMANDED

      Plaintiffs, CAROLE BASKIN, an individual, and HOWARD BASKIN,

an individual, (collectively “the Baskins”), sue Defendants, ROYAL

GOODE PRODUCTIONS, LLC, a New York limited liability company, and

NETFLIX, INC., a Delaware corporation and allege:
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                                     PARTIES

      1.       Plaintiff, Carole Baskin, is an individual residing in Hillsborough

County, Florida and has been a citizen of the State of Florida since 1978.

Carole Baskin is the founder and CEO of Big Cat Rescue Corp., a Florida not

for profit organization based in Tampa, Florida that operates one of the

world’s most influential sanctuaries for exotic cats and is a leading advocate

for ending the abuse of captive big cats and saving wild cats from extinction.

Big Cat Rescue’s mission is to provide the best home we can for the cats in

our care, end abuse of big cats in captivity and prevent extinction of big cats

in the wild.

      2.       Plaintiff,   Howard    Baskin,   is   an   individual   residing   in

Hillsborough County, Florida and has been a citizen of the State of Florida

since 1975. He is Carole Baskin’s spouse and serves as the Secretary,

Treasurer, Advisory Board Chairman and on the Board of Directors of Big

Cat Rescue Corp.

       3.      Defendant, Royal Goode Productions LLC (“Royal Goode”) is a

 New York limited liability company with its principal place of business

 located at 49 Bleeker Street, Suite 601, New York, New York, 10012. Eric

 Goode is the sole member of Royal Goode. Royal Goode is a film

 production company.



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     4.      Defendant, Netflix, Inc., (“Netflix”) is a Delaware corporation

with its principal place of business located at 100 Winchester Circle, Los

Gatos, CA 95032. Netflix is registered the Florida Secretary of State as a

Foreign Corporation authorized to do business in the State pursuant to Fla.

Stat. § 617.1501 et seq. Netflix is an American pay television over-the-top

media service and original programming production company. It offers

subscription-based video on demand streaming services.

                          JURISDICTION AND VENUE

       5.    This Court has subject matter jurisdiction under the provisions

 of 28 U.S.C. § 1332 insofar as this action is between citizens of different

 States and the amount in controversy exceeds $75,000, exclusive of

 interest and costs.

     6.      Royal Goode is subject to the personal jurisdiction of this Court

under the Florida Long-arm Statute, Fla. Stat. §48.193.

            a. By operating, conducting, engaging in, or carrying on a

              business or business venture in this state in connection with

              filming and conducting interviews related to Royal Goode’s

              production of various films including but not limited to Tiger

              King:    Murder,    Mayhem,   and   Madness   under   Fla.   Stat.

              §48.193(1)(a)(1).



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           b. By breaching the April 30, 2016 and April 13, 2018 Appearance

             Release Agreements with Plaintiffs as set forth in detail below

             and incorporated herein, Royal Goode has subjected itself to

             the personal jurisdiction of this Court under Fla. Stat.

             §48.193(1)(a)(7) by breaching a contract by failing to perform

             acts required by the Appearance Release Agreement to be

             performed in Florida.

      7.    Netflix is subject to the personal jurisdiction of this Court by

virtue of its voluntary registration with the Florida Secretary of State as a

Foreign Corporation authorized to do business in the State of Florida.

      8.     Venue is appropriate in this district pursuant to 28 U.S.C. §

1391(b)(2) insofar as a substantial part of the events or omissions giving

rise to the claims occurred in this judicial district as set forth below:

           a. Royal Goode solicited Plaintiffs to be interviewed and filmed

             in connection with the production of a film in Florida;

           b. Royal Goode presented its standard Appearance Release

             Agreement form to Plaintiffs in Hillsborough County,

             Florida;

           c. The April 30, 2016 and April 13, 2018 Appearance

             Release Agreements were executed in Hillsborough



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            County, Florida;

          d. Royal      Goode   interviewed     and    filmed    Plaintiffs

            predominantly at the Big Cat Rescue sanctuary in

            Hillsborough County, Florida;

          e. In March 2020, the Tiger King: Murder, Mayhem, and Madness

            Picture, which incorporated film footage and interviews

            of plaintiffs, was broadcast on Netflix, which included

            streaming transmission within the State of Florida;

          f. In 2021, Royal Goode again approached Plaintiffs in

            Florida with a request for a meeting, and presumably

            additional filming and interviews in conjunction with a

            sequel to the docuseries Tiger King: Murder, Mayhem, and

            Madness;

          g. Netflix has recently announced that it will broadcast Tiger

            King 2 a sequel to the Tiger King: Murder, Mayhem, and Madness

            Picture, also via streaming transmission within the State of

            Florida.

     9.    Venue is proper in this Division pursuant to Local Rule 1.02,

M.D.Fla. Local Rules.

                          GENERAL ALLEGATIONS



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    THE BASKINS’ MISSION TO END THE ABUSE OF EXOTIC BIG CATS

      10.   Since 1995, Carole Baskin has operated the not-for-profit organization

Big Cat Rescue and its sanctuary for abused and discarded exotic felines that have

been bred and/or held in captivity.

      11.   She has successfully rehabbed and released 42 orphaned or injured

native bobcats. Big Cat Rescue is accredited by The Global Federation of Animal

Sanctuaries, which is to sanctuaries what the Association of Zoos and Aquariums

is to zoos, requiring the highest standards of care in the industry. Big Cat Rescue is

licensed by and in good standing with the United States Department of

Agriculture (USDA) and the Florida Fish & Wildlife Conservation Commission

(FWC) and is registered with the state of Florida as a charity. Big Cat Rescue is

certified by Independent Charities of America as a “Best in America Charity” and

every year since 2011 has received the highest four-star rating from Charity

Navigator, the leading charity rating agency. Only 4% of the thousands of charities

they evaluate have received nine consecutive four-star ratings.

      12.   For almost three (3) decades, Carole Baskin has been a powerful voice

seeking to end the practice of keeping big cats in captivity. She has garnered

international attention to the plight of captive big cats on CNN, Fox, Animal

Planet, Discovery, U.S. News & World Report, People Magazine, The Today Show,

Good Morning America, Sports Illustrated, Netflix, Wondery, Dancing with the



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Stars, all of the local media outlets and many more national and international

programs. She is frequently contacted by media around the world when there is a

big cat incident in the news. She has been featured in recent years in three

documentaries, Hidden Tiger, The Conservation Game, and a BBC production by

well-known UK documentary maker Louis Theroux, and she just filmed for

another UK production by well-known UK documentary maker Ross Kemp.

      13.    Carole and Howard Baskin are known as leaders and experts in big

cat advocacy. Carole Baskin has lectured in Costa Rica, Panama, Mexico and many

cities across the U.S. on legislative affairs, and sanctuary standards in Universities,

Law Colleges (including Stetson, Texas Lutheran University and University of

Miami), and in numerous animal association conferences. Howard was recently

asked to give a lecture on advocacy to the members of the Big Cat Sanctuary

Alliance to educate other big cat sanctuaries on how to do more advocacy.

      14.    Their advocacy work includes a broad spectrum of activities. These

include:

            a. Convincing venues not to allow cub petting operations or adult cat

              exhibitors on their grounds. The Baskins convinced the owners of

              over 200 large shopping malls not to allow cub petting. The Baskins

              convinced some major corporations like Citigroup, Porsche, Target,

              PetSmart and numerous smaller venues like restaurants, all of



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           whom had allowed adult tiger exhibition at their locations at some

           point, not to allow such exhibition in the future.

        b. They have convinced major advertisers like Farmers Insurance,

           Arby’s, and 5-Hour Energy who used big cats in their marketing ads

           to discontinue such use.

        c. They spend enormous energy in exposing those who they feel

           mistreat big cats both by publicizing the mistreatment and by

           reporting potential violations of federal and state laws to the

           appropriate authorities. They are known as the people whistle

           blowers should report potential violations to and have assisted

           whistle blowers in filing formal complaints with agencies like

           USDA. They maintain a website 911AnimalAbuse.com to provide a

           public resource and database of news reports about and USDA

           violations incurred by exhibitors and owners.

        d. They work with state agencies around the country and with federal

           agencies to strengthen the regulations that protect big cats. One

           significant example was working along with other advocates to

           convince the US Fish & Wildlife Service (USFWS) to rescind what

           was known at the “generic tiger rule.” This 1998 rule exempted

           tigers of unknown genetic history (i.e., not known to be pure



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           subspecies) from the requirements of the Endangered Species Act.

           This resulted in massive overbreeding of tigers. The rescission of this

           rule in 2016 after five years of work by the Baskins and others,

           including generating over 30,000 comments to USFWS, has already

           resulted in prosecutions for what since the rescission has become

           illegal trafficking. Other successes include the 2009 requirement that

           those in Florida who possess Class I animals must post a $10,000

           bond and the reclassification of a cougar in Florida to Class I,

           making it illegal to own as a pet in FL.

        e. The Baskins work with state and federal governments to change the

           laws. They have helped change a number of state laws. At the

           federal level in 2003 they worked with other advocates on the

           Captive Wildlife Safety Act which passed Congress unanimously

           and prohibited the interstate sale of big cats as pets. Since 2012, the

           Baskins’ primary effort has been the Big Cat Public Safety Act. They

           have been working closely and coordinating with a number of the

           larger animal welfare Carole and Howard are recognized as leading

           advocates for this legislation, devoting significant financial and time

           resources to the bill. The bill passed the House in December 2020 by

           more than a two-thirds vote but did not get a vote in the Senate. It is



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              expected to pass the House again this session and is making strong

              progress in the Senate with 35 cosponsors including four

              Republicans. The bill would end cub petting and photo ops with big

              cats and phase out private ownership by individuals who are not

              licensed by USDA as exhibitors.

            f. To a large extent the success of this advocacy is accomplished by

              marshalling the grass roots efforts of millions of social media

              followers to send emails and make phone calls to venues, public

              comment sites set up by agencies, and legislators. Personal lobbying

              also plays a role.

      15.    With a Harvard MBA and law degree from the University of Miami,

Howard Baskin spent the first 11 years of his career at Citicorp, rising to become

director of strategic planning for the commercial real-estate division in New York

followed by 10 years as a management consultant for a succession of small

companies. Howard Baskin met Carole in late 2002 and from early 2003 became

her partner both personally and in pursuing her passion for ending the abuse of

large cats. Initially his focus was on Big Cat Rescue Corp.’s finances with the goal

of having the organization become financially capable of doing more advocacy.

Since 2010 a large portion of his time has been devoted to advocacy.

      16.    The Baskins’ advocacy is not without opposition. Those who desire to



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practice the private ownership of big cats as well as the private roadside “zoos”

that exploit big cats through breeding and cub petting activities all for commercial

gain are frequent critics of the Baskins, Big Cat Rescue, and their mission.

      17.    In one highly publicized case, Joe Schreibvogel n/k/a Joe Maldanado-

Passage a/k/a Joe Exotic (“Joe Exotic”), the operator of a private roadside zoo and

prolific breeder of big cats and purveyor of cub petting services sought to discredit

and silence the Baskins’ and their advocacy through years of constant and

persistent intimidating and libelous social media attacks and physically during

one incident at Big Cat Rescue.

      18.    When Joe Exotic misappropriated the trademarks and copyrights of

Big Cat Rescue in an attempt to tarnish the Baskins’ goodwill by falsely suggesting

that Big Cat Rescue was – itself - engaged in commercial cub petting practices,

litigation ensued that resulted in a Judgment in excess of $1 million being entered

against Joe Exotic and his roadside zoo. Actions to enforce this Judgment allowed

the Baskins to succeed in finally shutting down Joe Exotic’s “zoo” and big cat

breeding mill.

      19.    Faced with the financial pressure of the ongoing litigation and the

Baskins’ successful exposing of his mistreatment of animals, in 2017 Joe Exotic

solicited a “hitman” to murder Carole Baskin. The plot was uncovered, and Joe

Exotic was arrested and convicted, not merely for the murder-for-hire plot, but



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also for numerous violations of federal law related to the killing of and illegal

trafficking in big cats.

        ROYAL GOODE PRODUCTIONS FILMS THE BASKINS

      20.    On July 18, 2014, Rebecca Chaiklin – a producer with Royal Goode

Productions – telephoned Big Cat Rescue seeking out Carole Baskin. In her

message, Chaiklin said that she was a feature film director who was doing a

feature documentary on the wildlife trade. She described the project as a big cat

version of Blackfish. 1 Chaiklin expressed a desire to visit Big Cat Rescue and film

and interview Carole Baskin.

      21.    Thereafter, in subsequent telephone calls and finally at a face-to-face

meeting, Eric Goode and Rebecca Chaiklin of Royal Goode Productions repeatedly

emphasized that the intended goal for the project was to create s single

documentary feature film that would be an expose’ of the big cat breeding and cub

petting trade akin to the documentary feature film entitled Blackfish. Eric Goode

touted his credentials in the realm of turtle conservancy and Rebecca Chaiklin

touted the involvement on their production team of Fisher Stevens, well known

for his involvement in the acclaimed animal welfare documentary The Cove 2, as



 1 Blackfish is a 2013 American documentary film directed by Gabriela Cowperthwaite. It
 concerns Tilikum, an orca held by SeaWorld and the controversy over captive killer
 whales. See generally https://en.wikipedia.org/wiki/Blackfish_(film) .
 2 The Cove is a 2009 American documentary film directed by Louie Psihoyos which

 analyzes and questions dolphin hunting practices in Japan. It was awarded the


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bona fides to induce the Baskins to participate in the Royal Goode Productions

documentary.

      22.   Royal Goode first filmed the Baskins on July 23-25, 2014. The next

filming occurred April 29-30, 2016. The third filming session occurred on April 3,

2018. In 2019, Royal Goode Productions conducted four additional filming sessions

of the Baskins on May 16, October 10 & 17 and December 7. With the exception of

the October 17, 2019 filming while the Baskins were lobbying Congress in

Washington, D.C., all filming of the Baskins occurred at the Big Cat Rescue

sanctuary. All told, the Baskins estimate that Royal Goode Productions filmed

more than 50 hours of footage involving the Baskins and Big Cat Rescue.

      23.   In conjunction with its filming and while on-site at Big Cat Rescue,

Royal Goode Productions submitted to the Baskins two (2) Appearance Releases in

a form drafted by Royal Goode Productions. Carole and Howard Baskin each

signed Royal Goode Productions’ Appearance Releases on April 30, 2016 and

April 3, 2018. (hereinafter the “Appearance Releases”).

      24.   The Appearance Releases were identical in form with the exception of

the tentative title of subject “documentary motion picture.” The 2016 Appearance



 Academy Award for Best Documentary Feature in 2010. The film is a call to action to
 halt mass dolphin kills and captures, change Japanese fishing practices, and inform and
 educate the public about captivity and the increasing hazard of mercury poisoning from
 consuming               dolphin              meat.             See             generally
 https://en.wikipedia.org/wiki/The_Cove_(film)


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Releases listed the tentative title as “Stolen World” and the 2018 Appearance

Releases listed the title as “currently untitled.”

       25.    In September 2018, Royal Goode Productions shared three videos as

examples of its progress on the project. One was a five-minute video titled “Sizzle

Real,” another was a thirteen-minute video they referred to as “Rough Carole

Scenes,” the third was a forty-five minute video they referred to as “CNN Pilot.”

The Sizzle Reel and CNN Pilot both involved multiple species and included

footage filmed in Africa. While nowhere akin to the quality of Blackfish or The Cove,

it did appear that Royal Goode Productions was attempting to create an animal

welfare-oriented documentary. Even more significant was the Rough Carole

Scenes video. It clearly portrayed Carole as the heroine battling the cub petters. It

even             had             a               text      screen            saying:




       26.    Thereafter, Royal Goode Productions advised that its deal with CNN

had fallen through. Subsequently they advised that they had a new deal with

Netflix.

           TIGER KING: MURDER, MAYHEM, AND MADNESS AIRS ON NETFLIX




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     27.   In the late winter of 2020, Netflix announced the upcoming

airing of a series entitled Tiger King: Murder, Mayhem, and Madness.

(hereinafter “Tiger King 1”) to begin on March 20, 2020.

     28.   Upon learning of the Netflix announcement and viewing

promotional trailers for Tiger King 1, the Baskins were confused as to the

source of the series. They had been told by Eric Goode of Royal Goode

Productions that Joe Exotic would only be a small portion of the

documentary, so it seemed to Howard Baskin that this announced film

could not possibly be the one Royal Goode Productions was making. On

the other hand, it was hard to imagine Netflix having two productions at

the same time involving big cats. Howard Baskin e-mailed Eric Goode of

Royal Goode Productions expressing his confusion and asking if the

announced Tiger King 1 was Royal Goode Production’s film. After no reply

and a second inquiry two days later, Eric Goode finally called but avoided

accurately explaining how Carole Baskin was portrayed.

     29.   Far from being a documentary motion picture that seeks to

expose the illicit trade of big cat private ownership, breeding and cub

petting, Tiger King 1 is a seven (7) episode series focused primarily upon

portrayal of Joe Exotic as a sympathetic victim and Carole as the villain.

Even the producer of Blackfish criticized Tiger King 1 saying that issues



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surrounding big cats were "lost in the show's 'soap opera-esque drama.’”

     30.    Tiger King 1 was particularly harsh and unfair in its depiction of

the Baskins and Big Cat Rescue. The Tiger King 1 series wrongly attempted

to suggest that Big Cat Rescue abused its animals by keeping them in very

small cages while not making clear that the animals actually reside in

expansive   enclosures.    Also,    Tiger     King   1   incorrectly   suggests   an

equivalency between Big Cat Rescue and Joe Exotic’s roadside zoo, and

more broadly that there is no difference between roadside zoos that exploit

and mistreat animals and accredited sanctuaries that rescue and provide

excellent lifetime care to the animals. Perhaps most pernicious is the over-

arching implication in Tiger King 1 that Carole Baskin was involved in the

disappearance of her first husband in 1997.

     31.    Since its release, the Baskins have been vocal critics of Tiger King 1 as

has much of the community focused on ending big cat abuse. A number of

media outlets questioned the ethics of making Carole out to be the villain,

including suggestions that misogyny was a factor as this strong woman

stood up to all these dangerous men.

       TIGER KING 2

     32.    Following the release of Tiger King 1, Eric Goode of Royal

Goode Productions said that he didn’t want to “milk this into more



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episodes.” “You could keep going. I just think my intellectual curiosity has

kind of ended…This is not a story that we can continue to chronicle with

our main characters.”

     33.   However,     at   some   point,   Royal    Goode    Productions

reconsidered and embarked on a sequel (hereinafter “Tiger King 2”).

     34.   Eric Goode and Rebecca Chaiklin contacted the Baskins asking

to meet to “clear the air” and presumably seeking to secure their

participation in the sequel. Carole Baskin’s response was clear and

unequivocal: “No. And lose my number.”

     35.   Understanding that the Appearance Releases limited Royal

Goode Productions’ use of the footage of the Baskins and Big Cat Rescue to

the single, initial documentary motion picture, the Baskins believed that

any sequel – though odious – would not include any of their footage.

     36.    On September 25, 2021, Netflix announced that it would air the

sequel, Tiger King 2, beginning on November 17, 2021. On October 27, 2021,

Netflix also released its “Official Tiger King 2 Promotional Trailer”

https://www.rollingstone.com/tv/tv-news/joe-exotic-tiger-king-2-trailer-

1248832/ that prominently depicts the Baskins as a central element of the

sequel through the use of the film footage acquired by Royal Goode

Productions.



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                                 COUNT I

                     Breach of Contract (New York law)


      37.    Paragraphs 1 through 36 are incorporated and realleged by

reference.

      38.    The Baskins have performed all conditions, covenants, and

promises on their part to be performed in accordance with the terms and

conditions of the Appearance Releases.

      39.    The Appearance Releases limited Royal Goode Productions

right to use film footage of the Baskins to “a documentary motion picture.”

Throughout the Appearance Releases there is only reference to and

mention of “the Picture.” No mention is made of granting Royal Goode

Production sequel rights, rights to create derivative works from “the

Picture” or additional seasons or episodes.

      40.    Upon information and belief, Royal Goode Productions has

assigned its rights and obligations in the Appearance releases to Netflix.

      41.    By utilizing the film footage of the Baskins and Big Cat Rescue

secured by Royal Goode Productions under the Appearance Releases in

“sizzle reels” and promotional trailers for the sequel entitled Tiger King 2,

the Defendants are in breach of the terms of the Appearance Releases.

      42.    Upon information and belief, Defendants are utilizing film


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 footage of the Baskins and Big Cat Rescue secured by Royal Goode

 Productions under the Appearance Releases in the sequel entitled Tiger

 King 2. This use is in breach of the terms of the Appearance Releases.

       43.   Defendants’ unauthorized use of the film footage of the Baskins

 and Big Cat Rescue secured by Royal Goode Productions under the

 Appearance Releases will cause the Baskins irreparable injury for which

 the Baskins have no adequate remedy at law.

                                   COUNT I

                              Declaratory Judgment

      44.    Paragraphs 1 through 36, 38 & 39 are incorporated and

realleged by reference.

      45.    Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §

2201 et seq., the Baskins request the declaration of the Court that the

Appearance Releases restrict Defendants’ use of the resulting film footage of

the Baskins and Big Cat Rescue to a single documentary motion picture. In

this instance Tiger King 1.

      46.    By using film footage of Carole Baskin secured under the

Appearance Releases in “sizzle reels” and promotional trailers for Tiger King

2, coupled with the statements of Royal Goode Productions that it retains

and can use film footage of the Baskins secured under the Appearance



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Releases that was not used in Tiger King 1, circumstances exist that constitute

and represent an actual controversy that is not conjectural, hypothetical, or

contingent.

      47.     There is a substantial likelihood that the Baskins will suffer

injury in the future that only can be remedied or redressed by a favorable

judicial decision in this action.

                          PRAYER AS TO ALL COUNTS

       WHEREFORE, Plaintiffs demand:

       a.     Royal Goode Productions and Netflix, their agents, servants,

              employees and, attorneys, and all those persons in active

              concert    or   participation   with   it,   be   preliminarily   and

              thereafter, permanently enjoined and restrained from: Using

              any film footage of the Baskins or Big Cat Rescue filmed by

              Royal Goode Productions in the sequel series entitled Tiger

              King 2 or in any advertising or promotion the sequel series

              entitled Tiger King 2 or in any manner whatsoever other than

              in the existing series entitled Tiger King: Murder, Mayhem, and

              Madness;

       b.     That this Court declare that Defendants have no rights under

              the Appearance Releases to use the film footage of the Baskins



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                and Big Cat Rescue for any purposes other than directly

                related to Tiger King 1;

          c.    That Plaintiffs have and recover their costs in this action

                pursuant Fed. R. Civ. P. 54(d)(1);

          c.    That Plaintiffs have such other and further relief as this court

                may deem just and proper.

                             DEMAND FOR JURY TRIAL

          Plaintiffs hereby demand trial by jury on all issues so triable.



                                         /s/ Frank R. Jakes
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